             Case 1:14-vv-00605-UNJ Document 41
                                             40 Filed 01/05/16
                                                      12/11/15 Page 1 of 4
                                                                         2




             In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                        Filed: December 11, 2015

* * * * * * * *                      *    *   * *       *
EVANGELINA AVILA,                                       *
                                                        *            Special Master Roth
                                                        *
                  Petitioner,                           *             No. 14-605V
                                                        *
v.                                                      *             Damages Decision Based on Proffer;
                                                        *             DTaP; Shoulder Injury Related to
SECRETARY OF HEALTH                                     *             Vaccine Administration [“SIRVA”];
AND HUMAN SERVICES,                                     *             Arthritis
                                                        *
                  Respondent.                           *
*    *   *    *   * * * *            *    *   * *       *

Martin J. Martinez, Nemes, Martinez Law Office, Napa, CA, for petitioner.
Julia W. McInerny, U.S. Dept. of Justice, Washington, DC, for respondent.

                                  DECISION AWARDING DAMAGES1

Roth, Special Master:

       On July 14, 2014, Evangelina Avila filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2 [the “Vaccine Act” or
“Program”] alleging that she suffered a shoulder injury and arthritis as a result of the
administration of her February 21, 2012 DTaP vaccination. Petition at 2-3.

        On July 2, 2015, noting respondent’s concession in her Rule 4(c) Report that petitioner is
entitled to compensation in this case, Chief Special Master Dorsey issued a Ruling on
Entitlement. This case was transferred to the undersigned on October 19, 2015. On December
10, 2015, respondent filed a Proffer on award of compensation. The proffer indicates that
petitioner agrees with each aspect of the compensation award.

1
 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17, 2002). In accordance with Vaccine Rule 18(b), petitioner has
14 days to identify and move to delete medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2006).



                                                            1
           Case 1:14-vv-00605-UNJ Document 41
                                           40 Filed 01/05/16
                                                    12/11/15 Page 2 of 4
                                                                       2



      Pursuant to the terms stated in the attached proffer, I award petitioner a lump sum
payment of $100,000.00 in the form of a check payable to petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

        The clerk of the court is directed to enter judgment in accordance with this decision.3

               Any questions regarding this Order may be directed to my law clerk, Marc
Langston, at (202) 357-6392, or by email at Marc_Langston@ao.uscourts.gov.

        IT IS SO ORDERED.

                                                     s/Mindy Michaels Roth
                                                     Mindy Michaels Roth
                                                     Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.



                                                         2
         Case
          Case1:14-vv-00605-UNJ
               1:14-vv-00605-UNJ Document
                                  Document40-1
                                           39 Filed
                                           41  Filed01/05/16
                                                    12/10/15
                                                     12/11/15 Page
                                                               Page3
                                                                   11ofof4
                                                                         22



                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS
____________________________________
EVANGELINA AVILA,                     )         No. 14-605V
                                      )         ECF
       Petitioner,                    )         Special Master Roth
                                      )
    v.                                )
                                      )
SECRETARY OF HEALTH                   )
AND HUMAN SERVICES,                   )
                                      )
       Respondent.                    )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$100,000.00, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $100,000.00 in the form of a check payable to petitioner.

Petitioner agrees.

                                                      Respectfully submitted,

                                                      BENJAMIN C. MIZER
                                                      Principal Deputy Assistant Attorney General

                                                      RUPA BHATTACHARYYA
                                                      Director
                                                      Torts Branch, Civil Division



1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
      Case
       Case1:14-vv-00605-UNJ
            1:14-vv-00605-UNJ Document
                               Document40-1
                                        39 Filed
                                        41  Filed01/05/16
                                                 12/10/15
                                                  12/11/15 Page
                                                            Page4
                                                                22ofof4
                                                                      22



                                          VINCENT J. MATANOSKI
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          MICHAEL P. MILMOE
                                          Senior Trial Counsel
                                          Torts Branch, Civil Division

                                          /s/ Julia W. McInerny
                                          JULIA W. MCINERNY
                                          Senior Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
DATED: December 10, 2015                           (202) 353-3919




                                      2
